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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 WSOU INVESTMENTS, LLC, d/b/a
 BRAZOS LICENSING AND DEVELOPMENT,

                         Plaintiff,

         v.
                                                           Civil Action No. 6:20-cv-00730-ADA
 HEWLETT PACKARD ENTERPRISE
 COMPANY,

                         Defendant.


       DECLARATION OF MICHAEL R. FRANZINGER IN SUPPORT OF
   HEWLETT PACKARD ENTERPRISE COMPANY’S SUPPLEMENTAL BRIEF IN
      SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF STANDING

        I, Michael R. Franzinger, hereby declare, affirm and state as follows:

        1.       I am an attorney with Sidley Austin LLP, counsel to Defendant Hewlett Packard

Enterprise Company (“HPE”). I am a member of the bar of this Court. I have personal

knowledge of the matters stated in this Declaration and would testify truthfully to them if called

upon to do so.

        2.       Attached hereto as Exhibit 24 is a true and correct copy of excerpts of the sealed

transcript of the motion and discovery hearing held on January 14, 2022, in connection with this

litigation.

        3.       Attached hereto as Exhibit 25 is a true and correct copy of the presentation slides

used by HPE in connection with the motion and discovery hearing held on January 14, 2022, in

connection with this litigation.

        4.       Attached hereto as Exhibit 26 is a true and correct copy of emails produced by

WSOU bearing Bates Nos. WSOU-HPE-00025202 – 00025211, as served in this litigation.


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       5.       Attached hereto as Exhibit 27 is a true and correct copy of emails produced by

WSOU bearing Bates Nos. WSOU-HPE-00025694 – 00025701, as served in this litigation.

       6.       Attached hereto as Exhibit 28 is a true and correct copy of a document entitled

Amendment to Patent Purchase Agreement produced by WSOU bearing Bates Nos. WSOU-

HPE-00025702 – 000025714, as served in this litigation.

       7.       Attached hereto as Exhibit 29 is a true and correct copy of a redlined version of a

document entitled Amendment to Patent Purchase Agreement produced by WSOU bearing Bates

Nos. WSOU-HPE-00025715 – 000025727, as served in this litigation.

       8.       Attached hereto as Exhibit 30 is a true and correct copy of a document entitled

Amendment to Patent Purchase Agreement produced by WSOU bearing Bates Nos. WSOU-

HPE-00025212 – 000025224, as served in this litigation.

       9.       Attached hereto as Exhibit 31 is a true and correct copy of emails produced by

WSOU bearing Bates Nos. WSOU-HPE-00025229 – 00025235, as served in this litigation.

       10.      Attached hereto as Exhibit 32 is a true and correct copy of emails produced by

WSOU bearing Bates Nos. WSOU-HPE-00025251 – 00025252, as served in this litigation.

       11.      Attached hereto as Exhibit 33 is a true and correct copy of emails produced by

WSOU bearing Bates Nos. WSOU-HPE-00025729 – 00025732, as served in this litigation.

       12.      Attached hereto as Exhibit 34 is a true and correct copy of emails produced by

WSOU bearing Bates No. WSOU-HPE-00025728, as served in this litigation.

       13.      Attached hereto as Exhibit 35 is a true and correct copy of emails exchanged

between S. Hartman and M. Hatcher in the course of this litigation, with the top email dated

February 2, 2022. The email chain has been truncated to exclude earlier, unrelated messages.




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

                                                    /s/ Michael R. Franzinger
                                                    Michael R. Franzinger




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